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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD E. WOOSLAYER,                           )
                                               )
                      Plaintiff,               )
                                               )    Civil Action No. 20-573
               v.                              )    Judge Cathy Bissoon
                                               )
                                               )
MICHAEL A. DRISCOLL,                           )
                                               )
                      Defendants.              )


                                            ORDER

       Given that motions pursuant to Federal Rule of Civil Procedure 12(b) are discouraged if

the pleading defect is curable by amendment, IT HEREBY IS ORDERED that the parties must

meet and confer prior to the filing of such a motion to determine whether it can be avoided.

The duty to meet and confer extends to parties appearing pro se. Consistent with the foregoing,

motions to dismiss must be accompanied by a certificate of the movant, stating that the

moving party has made good faith efforts to confer with the nonmovant(s) to determine whether

the identified pleading deficiencies properly may be cured by amendment.

       Motions to dismiss that do not contain the required certification will be summarily

denied. Furthermore, a non-moving party’s non-compliance with this Order, including

a failure to timely engage in the meet-and-confer process, may result in the assessment of

monetary and/or nonmonetary sanctions. Those sanctions may include, but are not limited

to, an assessment of attorney(s)’ fees and costs associated with the filing of the motion to

dismiss; and/or a denial of the non-movant’s subsequent request for leave to amend.
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       In addition, the parties shall endeavor not to oppose motions to amend the pleadings that

are filed prior to the initial Case Management Conference, or within the time set forth in the

parties’ Rule 26(f) Report and/or the Court’s Rule 16 Case Management Order.

       Finally, IT IS ORDERED that: (1) as soon as is practicable, Plaintiff(s) promptly shall

serve a copy of this Order upon Defendant(s); (2) all counsel and unrepresented parties must

read, know and understand the Local Rules of this Court (see web page at:

http://www.pawd.uscourts.gov/court-info/local-rules-and-orders/local-rules); and (3) all counsel

and unrepresented parties must familiarize themselves with the undersigned’s Practices and

Procedures (see web page at http://www.pawd.uscourts.gov/content/cathy-bissoon-district-

judge), and they will be held responsible for complying with the same.

       IT IS SO ORDERED.



April 21, 2020                                       s/Cathy Bissoon
                                                     Cathy Bissoon
                                                     United States District Judge

cc (via ECF email notification):

All Counsel Currently of Record




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